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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
c/o UNITED STATES DEPARTMENT               )
OF JUSTICE, 1400 NEW YORK AVENUE,          )                      Case No. 19-CV-130 (RBW)
N.W., 10TH FLOOR, WASHINGTON,              )
D.C. 20005                                 )
                                           )
            Plaintiff,                     )
                                           )
            v.                             )
                                           )
THREE SUMS TOTALING $612,168.23            )
IN SEIZED UNITED STATES CURRENCY           )
                                           )
            Defendants in rem.             )
___________________________________________)

                                   [PROPOSED] ORDER

       Upon consideration of Claimants’ Motion to Replace Unredacted Exhibits with Redacted

Copies and to Seal Exhibits, it is hereby ORDERED that the Motion is GRANTED; and it is further

       ORDERED that:

       1. ECF No. 14-3 be sealed and that Exhibit B—Swift Transfer for SUM A, as attached to

          Claimants’ Motion, be filed in its place;

       2. ECF No. 14-4 be sealed and that Exhibit C—Swift Transfer for SUM B, as attached to

          Claimants’ Motion, be filed in its place; and

       3. ECF No. 14-5 be sealed and that Exhibit D—Swift Transfer for SUM C, as attached to

          Claimants’ Motion, be filed in its place.

       SO ORDERED.

       Date: _________________, 2020                  _____________________________
                                                      HON. REGGIE B. WALTON
                                                      United States District Judge
